                                 UNITED STATES DISTRICT COURT
                                         DISTRICT OF MARYLAND

        CHAMBERS OF                                                                 U.S. COURTHOUSE
    CATHERINE C. BLAKE                                                         101 WEST LOMBARD STREET
UNITED STATES DISTRICT JUDGE                                                  BALTIMORE, MARYLAND 21201
                                                                                       (410) 962-3220
                                                                                     Fax (410) 962-6836


                                               June 4, 2021



 MEMORANDUM TO COUNSEL

        Re:      United States v. Davonte Harrison, et al.
                 Criminal No. CCB-19-0575


 Dear Counsel:

         This will confirm the results of our conference call on June 3, 2021. Defense
 motions are due June 22, 2021; the government’s response is due July 2, 2021. A
 motions hearing in the courthouse has been scheduled for Wednesday, July 7, 2021, at
 10:00 a.m. The courtroom location will be determined before that date. The trial (4-5
 day, jury) remains set for August 16, 2021.

        Despite the informal nature of this ruling, it shall constitute an Order of
 Court, and the Clerk is directed to docket it accordingly.

                                               Sincerely yours,


                                                       /S/

                                               Catherine C. Blake
                                               United States District Judge
